     Case 6:24-bk-17273-SY   Doc 17 Filed 12/30/24 Entered 12/30/24 13:38:10           Desc
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                                                              CLERK U.S. BANKRUPTCY COURT
 6                                                            Central District of California
                                                              BY gooch      DEPUTY CLERK
 7
 8                            UNITED STATES BANKRUPTCY COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

10                                     RIVERSIDE DIVISION

11
12      In re:                                  Case No.: 6:24-bk-17273-WJ

13      TAUREAN E. WRIGHT,
                                                CHAPTER 13
14                               Debtor.

15                                              ORDER REGARDING THE MOTION OF
                                                THE DEBTOR TO EXTEND THE TIME TO
16                                              FILE CASE INITIATION DOCUMENTS

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     Case 6:24-bk-17273-SY         Doc 17 Filed 12/30/24 Entered 12/30/24 13:38:10            Desc
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 1             The Court has reviewed the motion of the debtor, Taurean E. Wright (“Debtor”), entitled

 2      “Debtor’s Motion To Extend Time To File Case Opening Documents” [docket #15] (“Motion”).

 3      The Debtor has filed an incomplete chapter 13 petition and seeks an extension of the deadline to

 4      file various documents. The current deadline is December 18, 2024 and the Debtor seeks an

 5      extension to December 27, 2024.

 6             However, December 27, 2024 has passed and no further documents have been filed by the

 7      Debtor. The original deadline (December 18, 2024) to file documents has also passed and nothing

 8      further has been filed by the Debtor.

 9             Accordingly, the Motion is moot and hereby denied on that basis.

10      IT IS SO ORDERED.

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         Date: December 30, 2024
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